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                         IN THE UNITED STATES DISTRICTCOffittfiAR 16 An Id- 5k
                         FOR THE MIDDLE DISTRICT OF FLOMD^ ...
                                   JACKSONVILLE DIVISION mioq'^DISTRfcfTf FLOKm
                                                                           J.^ICKSC.MVILLE DISTRICT
    ALDORA ALUMINUM &
    GLASS PRODUCTS, INC.,
                                                            CIVIL ACTION
                    Plaintiff,
                                                            Case No. 3:14-CV-1402-J-34JBT
    V.



    POMA GLASS & SPECIALTY
    WINDOWS, INC.,

                    Defendant.



                       POMA'S MOTION FOR SUMMARY JUDGMENT


           Pursuant to Federal Rule of Civil Procedure 56, Poma Glass & Specialty Windows,

   Inc. ("Poma") moves this Court for judgment as a matter of law on all claims in Aldora

   Aluminum & Glass Products, Inc.'s ("Aldora") Amended Complaint.

                                          INTRODUCTION


          This case arises from Aldora's and Poma's joint failure to reach acceptable agreements

   to transition Poma's lease of a glass fabrication facility in Jacksonville, Florida to Aldora. As

   a result, Aldora has asserted claims for breach ofcontract, breach of the covenant of good faith

   and fair dealing, and promissory estoppel against Poma. These claims fail for a simple reason:

   the contract that Aldora seeks to enforce - the Memorandum of Understanding ("MOU") - is

   unenforceable as a matter of law.

          The undisputed evidence is that Poma and Aldora negotiated the MOU as part ofa two-

   part deal - the sale of certain pieces of equipment in the Jacksonville facility and the transition

   of Poma's lease of the facility to Aldora. The primary purpose of that two-part deal was the
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